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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

UNITED STATES OF AMERICA )
v. Criminal No. 3:15-cr-176—-HEH
DEMONTE LAMORE WOOLRIDGE,
Defendant.
ORDER

(Directing Counsel to File Motion and Setting Briefing Schedule)

THIS MATTER is before the Court on its own initiative. On February 14, 2023,
Defendant Demonte Lamore Woolridge (“Defendant”) filed a pro se “Motion Under the First
Step Act of 2018 Seeking Reduction of Sentence” (ECF No. 63). On May 1, 2023, this
Court entered an Order appointing the Federal Public Defender’s Office (“FPD”) to represent
Defendant and set forth a briefing schedule (ECF No. 67). Subsequently, the FPD moved to
withdraw from representation which this Court granted on May 4, 2023 (ECF No. 70). That
Order also directed the Clerk to appoint an attorney from the CJA Panel to represent
Defendant with respect to his eligibility for relief. (d.) On May 5, 2023, Attorney Michael
Ben Gunlicks was appointed to represent Defendant with his motion for relief.

Accordingly, it is hereby ORDERED that:

1. Within thirty (30) days of the entry of this Order, defense counsel is directed
to file a Motion for Relief Pursuant to Section 603 of the First Step Act of 2018. In this
Motion, defense counsel shall address whether Defendant’s Motion is timely under 18 U.S.C.

§ 3582(c).
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De If, after a conscientious review of Defendant’s case, defense counsel finds the
request for relief frivolous, he or she shall file a motion to withdraw pursuant to Anders v.
California, 386 U.S. 738, 744 (1967), accompanied by “a brief referring to anything in the
record that might arguably support” the client’s claim for relief.

2 The United States is directed to file a Statement in Response to the Motion for
Relief Pursuant to Section 603 of the First Step Act within thirty (30) days thereafter, which
shall include the following information:

a. Defendant’s currently-projected date of release;

b. Status of Defendant’s educational and vocational training, if any;

c. Defendant’s post-sentencing conduct, including Defendant’s
compliance with the rules of the institution(s) in which Defendant has
been incarcerated; and

d. Any relevant considerations of public safety.

If the United States opposes the Motion, it must state the grounds on which it opposes
either because Defendant is not eligible for relief or, for example, because Defendant poses a
risk of harm to the public, or any other reason.

5; If Defendant disagrees with the Government’s response, Defendant may reply
to the Government’s response within ten (10) days of the date that it is filed.

The Clerk is directed to send a copy of this Order to all counsel of record and to

Defendant personally.

It is so ORDERED. A
Ah 4 /s/

Henry E. Hudson
Senior United States District Judge

Date: Noy. é
Richmond, VA
